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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO



    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO

   Shenelle Lovato,
   Alexis Suarez,

   Plaintiffs,

   v.

   WILLIAMS MAHLER in his individual capacity,
   COMMUNITY CORRECTIONS INC,
   MARK WESTER in his individual capacity,
   KIRSTEN MARTINEZ in her individual capacity,
   HILLARY JOHNSON in her individual capacity,
   ANTONETE JARAMILLO in her individual capacity
   BOBBI VIGIL in her individual capacity,

   Defendants.



         RESPONSE REGRADING MOTION TO DISMISS AMENDED COMPLAINT

   ______________________________________________________________________________



           Plaintiffs, SHENELLE LOVATO AND ALEXIS SUAREZ, by and through their

   undersigned counsel, state as follows:

   FEDERAL RULES OF PROCEDURE 12(b)(6)

          In ruling on a motion to dismiss for failure to state a claim under Rule 12(b)(6) the Court

   must assume as true all well pleaded facts in the Plaintiff's complaint and view such in a light
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   most favorable to the Plaintiffs. Zinemon v. Burch, U.S. 113, 118 (1990); Swanson v. Bixler,

   750 F.2d 810, 813 (10th Cir. 1984).

          Rule 12(b)(6) does not require detailed factual allegations. Bell Atlantic Corporation v.

   Twombly, 550 U.S. 544, 555 (2007). The issue in reviewing the sufficiency of the Plaintiff's

   complaint is not whether Plaintiff will prevail but whether he is entitled to offer evidence to

   support his claims. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). To survive a motion to

   dismiss, a complaint must contain sufficient factual allegations to state a claim that is facially

   plausible. Twombly, at 570 (2007).

          A claim is facially plausible when the allegations support a reasonable inference that the

   defendant acted unlawfully. Mayfield v. Bethards, 826 F.3d 1252, 1255 (10th Cir. 2016). In §

   1983 cases, complaints must contain sufficient factual allegations to show “the defendants

   plausibly violated their constitutional rights and that those rights were clearly established at the

   time.” Robbins v. Oklahoma, 519 F.3d 1242, 1249 (10th Cir. 2008). And because motions to

   dismiss on the issue of qualified immunity are immediately appealable, § 1983 complaints must

   apprise the defendants of the theory upon which claims are premised. Id.

          This requirement, however, does not require § 1983 complaints to include “all the factual

   allegations necessary to sustain a conclusion that defendant violated clearly established

   law.” Id. Instead, § 1983 complaints “must meet the minimal standard of notice pleading as

   articulated by the Court in Twombly.” Id.; Currier v. Doran, 242 F.3d at 905, 911–17 (10th Cir.

   2001) (expressly rejecting such a heightened pleading standard because such a standard deviates

   from the Rule 8 pleading requirements). Granting a “motion to dismiss is a harsh remedy which

   must be cautiously studied, not only to effectuate the spirit of the liberal rules of pleading but
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   also to protect the interests of justice.” Dias v. City & Cnty of Denver, 567 F.3d 1169, 1178

   (10th Cir. 2009).

   INTRODUCTION

          Plaintiffs’ Amended Complaint requests relief from a pattern of sexual abuse to which

   they were subjected while they were inmates at ComCor. The sexual abuse was perpetrated by

   ComCor employee William Mahler. Plaintiffs allege that the sexual abuse happened as a direct

   result of the actions and omissions of ComCor, Mark Wester, Kristen Martinez, Hillary Johnson,

   Antonette Jaramillo and Bobbi Vigil (ComCor defendants). The ComCor defendants failed to

   implement measures to protect the inmates from sexual abuse. The Plaintiffs allege the ComCor

   defendants were aware of the risk of sexual abuse, that they were aware of ComCor’s

   deficiencies at preventing such abuse, and that they were deliberately indifferent to such risks.

          Plaintiffs allege in the Amended Complaint that movants created an environment that

   discouraged the reporting of sexual abuse and empowered William Mahler to repeatedly rape the

   Plaintiffs. Plaintiffs allege that the ComCor Defendants were aware that the failure to properly

   monitor the facility created the opportunity for sexual abuse against the inmates. The actions and

   inactions of the ComCor Defendants constituted deliberate indifference to the widely known

   problem of sexual abuse at ComCor. The Court should deny Defendants’ motion because

   Plaintiffs’ Complaint clearly supports plausible claims against Defendants for violations of

   Plaintiffs’ Eighth Amendment clearly established rights to be free from cruel and unusual

   punishment and Fourteenth Amendment clearly established substantive due process right to

   bodily integrity.

          The ComCor defendant’s have filed a Motion to Dismiss the Amended Complaint (doc.

   55). This motion appears to be almost a word for word duplicate of the Motion to Dismiss
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   Complaint (doc.27). Not only does the motion fail to address the Amended Complaint, the

   references cited by the ComCor defendants are to the Original Complaint, not the Amended

   Complaint. For example, in Paragraph 2 on Page 4 of the Motion to Dismiss the Amended

   Complaint, the ComCor defendants cite to Paragraph 13 of the Amended Complaint, but then

   quote from Paragraph 13 of the Original Complaint. Another example is Paragraph 3 of Page 7

   of the Motion to Dismiss the Amended Complaint. The motion only references Movant

   Defendant Wester, who was the only defendant individually referred to in the Original

   Complaint. The Amended Compliant specifically lists the actions of the other individual

   defendants, specifically Hillary Johnson, Kristen Martinez, and Bobbi Vigil (Amended

   Complaint paragraph 58). It is unclear to counsel for the plaintiffs if this was intentional or a

   misfiling. Counsel tried to reach out to counsel for the ComCor defendants for clarification but

   received no response. Since the Motion to Dismiss the Amended Complaint seems to incorrectly

   address the Original Complaint only, counsel for plaintiffs is forced to use conjecture to ascertain

   the ComCor defendants’ position in regards to the Amended Complaint. Since both Motions to

   Dismiss filed by the ComCor defendants seem to focus on a lack of specificity by the Plaintiffs,

   this Response will deal primarily with the specificity issue.

   ARGUMENT

          The Supreme Court has held that “a prison official's ‘deliberate indifference’ to a

   substantial risk of serious harm” implicates the Eighth Amendment. Farmer v. Brennan, 511 U.S.

   825, 829(1970). “[W]hen the State takes a person into its custody and holds [her] there against

   [her] will, the Constitution imposes upon it a corresponding duty to assume some responsibility

   for [her] safety and general well-being.” DeShaney v. Winnebago County Dep't of Soc. Servs.,

   489 U.S. 189, 199–200, 109 S.Ct. 998, 103 L.Ed.2d 249 (1989), J.K.J. v. Polk Cty., 960 F.3d
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   367, 381 (7th Cir. 2020), cert. denied sub nom. Polk Cty., Wisconsin v. J.K. J., 141 S. Ct. 1125,

   208 L. Ed. 2d 563 (2021) It is undisputed that a prison official's sexual assault against an inmate

   constitutes an Eighth Amendment violation. Green v. Padilla, 484 F. Supp. 3d 1098, 1155

   (D.N.M. 2020).

          In order to assert an Eighth Amendment claim under 42 U.S.C. § 1983 for supervisory

   liability the plaintiffs must plead factual allegations to show that the ComCor Defendants

   through their own actions, violated the Plaintiffs’ constitutional rights. The plaintiffs must show

   an affirmative link between the ComCor defendants and the constitutional violation, which

   requires proof of three interrelated elements: (1) personal involvement; (2) causation; and (3)

   state of mind. Schneider v. City of Grand Junction Police Dep't, 717 F.3d 760, 767 (10th Cir.

   2013). The third prong—culpable state of mind—can be established by showing that the official

   acted with deliberate indifference. Perry v. Durborow, 892 F.3d 1116, 1122 (10th Cir. 2018).

          The Tenth Circuit has held repeatedly that correctional supervisors are liable for failing to

   protect inmates from abuse by the supervisors’ staff. In Tafoya v. Salazar, the Tenth Circuit

   concluded that a sheriff was liable for failing to prevent sexual assaults in a jail, because he

   maintained a jail in which sexual assault was exceedingly likely. The sheriff maintained staff

   who did not report rapes, assaults and illegal activities; failed to enforce a no contact policy,

   failed to always have female detention officer on duty; failed to minimize blind spots where

   assaults could, and did, take place; and knew that having some cameras in the jail was not

   enough to deter assaults in unmonitored areas. Tafoya v. Salazar, 516 F.3d 912, 918-19(10th

   Circuit 2008). The Tenth Circuit thus concluded that the requisite knowledge under the Eighth

   Amendment “need not be knowledge of a substantial risk to a particular inmate, or knowledge of

   the particular manner in which injury might occur.” Id. 516 F.3d at 916. Based upon this a
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   supervisory correctional official is liable for an inmate's sexual assault when the supervisory

   official knew that there was an unacceptable risk of assault but did nothing to protect an inmate

   who was subsequently assaulted. Green v. Padilla, 484 F. Supp. 3d 1098, 1156 (D.N.M. 2020).

            In order to state a claim for deliberate indifference, the Tenth Circuit confirmed that,

   under rule 8, “specific facts are not necessary; the statement need only give the defendant fair

   notice of what the ... claim and the grounds upon which it rests.” Ullery v. Bradley, 949 F.3d

   1282, 1288 (10th Cir. 2020). The correct test if when read in the context of the entire complaint,

   rather than in isolation, this allegation provides Defendant sufficient notice of the ground upon

   which Plaintiff's claim for relief rests. Green v. Padilla, 484 F. Supp. 3d 1098, 1154 (D.N.M.

   2020).

            Defendants argue specifically that they are left with little idea of where to begin in

   defending this matter, which mirrors the reasoning for the Tenth Circuit Court of Appeals

   dismissing a complaint in Robbins, 519 F.3d at 1245–46. The differences between Plaintiffs’

   Complaint and the plaintiffs' complaint in Robbins shows that dismissal is inappropriate in this

   case.

            In Robbins, the plaintiffs filed a § 1983 complaint seeking redress for their deceased

   daughter's alleged constitutional violations and other various torts in connection with her

   death. Robbins, 519 F.3d. at 1246. The complaint named sixteen defendants, but it failed to

   mention which defendants had direct contact with the decedent and, for those defendants who

   had no direct contact with her, how they might be liable for the alleged constitutional

   deprivations. Id. at 1250.

            The complaint also consistently referred to the defendants collectively which further

   exacerbated the issue. Id. The Tenth Circuit Court of Appeals found the complaint insufficient
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   for failing to apprise the defendants of the basis for their claims because the manner of pleading

   made it impossible for defendants to determine what they were allegedly liable for and was

   therefore insufficient to state a claim upon which relief could be granted. Id. at 1250, 1252–

   53; See Birdsong v. Unified Government of Kan. City, Kan., 2014 WL 2216904 (D. Kan. May

   29, 2014) (describing the complaint in Robbins).

          In stark contrast, here Plaintiff's Complaint contains over 80 paragraphs detailing each

   individual defendants' role in violating Ms. Suarez and Ms. Lovato’s constitutional rights. [ECF

   No. 53]. Within these paragraphs, Ms. Johnson alone is expressly and individually mentioned in

   more than twenty paragraphs specifically detailing what she did or did not do that led to the

   rapes. At a minimum, the Amended Complaint describes Kirsten Martinez, Hillary Johnson,

   Antonette Jaramillo and Bobbi Vigil individually participating in the events that led to William

   Mahler raping two inmates on multiple occasions. Put another way, Plaintiffs’ Complaint

   sufficiently describes the conduct of each defendant.

          Furthermore, Robbins did “not create an absolute rule requiring the utmost precision

   from plaintiffs.” Ferguson v. Bd of Cnty Comm'rs of Sierra Cnty., No. CV 11-1001 WPL/CG,

   2013 WL 12334214, at *4 (D. N.M. Apr. 2, 2013) (analyzing Briggs v. Johnson, 274 Fed. App'x

   730, 2008 WL 1815721 (10th Cir. Apr. 23, 2008). Instead, the relevant standard is Rule 8(a)(2),

   and the relevant inquiry is whether “each defendant knows why he or she was ever named in the

   complaint.” Ferguson, 2013 WL 12334214, at *5; see FED. R. CIV. P. 8(a). Plaintiff's Amended

   Complaint when viewed in its entirety and each claim, when read in conjunction with the facts

   alleged, provide sufficient notice to each individual Defendant of the claims against

   them. See Ferguson, 2013 WL 12334214, at *4 (citing Briggs, at 736–37).
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          Moreover, each cause of action expressly lists the defendants against which relief is

   sought, and it only refers to defendants in the collective sense when appropriate. The other

   collective references to defendants are located throughout the individual causes of action, but

   notably each cause of action specifically details which individual ComCor defendants the claim

   is brought against. Id. at ¶¶ 98–169; See Birdsong, 2014 WL 2216904, at *4 (finding that, while

   paragraphs under the cause of action referred to a collective group of defendants, it was

   reasonably understood to mean the plaintiff was alleging all defendants identified in the cause of

   action engaged in the referenced conduct). If any of the defendants' actions are insufficient for

   liability to attach, they can present such evidence at summary judgment or at trial. Ferguson,

   2013 WL 12334214, at *5. But at this stage of the proceedings, plaintiff's claims contain

   sufficient allegations to enable defendants to prepare a responsive pleading. Since the Motion to

   Dismiss the Amended Complaint [ECF 55] actually addresses only the Original Complaint,

   plaintiffs will outline the specific allegations against the individual defendants.

   Hillary Johnson

          The Amended Complaint contains numerous factual allegations against Ms. Johnson.

   These allegations clearly point out her personal involvement, how her actions and inactions

   caused the harm, and her state of mind. As the Director of Quality Assurance for ComCor, Ms.

   Johnson oversaw the operations of the residential program and was in charge of implementing

   the Prison Rape Elimination Act (PREA). PREA was enacted because the risks to female

   inmates in the confinement setting are obvious—indeed, PREA owes its very existence to that

   reality. J.K.J. v. Polk Cty., 960 F.3d 367, 384 (7th Cir. 2020), cert. denied sub nom. Polk Cty.,

   Wisconsin v. J.K. J., 141 S. Ct. 1125, 208 L. Ed. 2d 563 (2021).
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           As the PREA coordinator, Ms. Johnson was aware of audits conducted pursuant to

   PREA. In 2017, the PREA audit made Ms. Johnson aware of several substantial risks of sexual

   assault that existed at ComCor. The Eighth Amendment's prohibition of cruel and unusual

   punishment imposes a duty on prison officials to provide humane conditions of confinement,

   including “reasonable measures to guarantee the safety of the inmates.” Farmer v. Brennan,

   511 U.S. 825, 832, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994). The question under the Eighth

   Amendment is whether prison officials, acting with deliberate indifference, exposed a prisoner to

   a sufficiently substantial risk of serious damage to his future health, and it does not matter

   whether the risk comes from a single source or multiple sources, any more than it matters

   whether a prisoner faces an excessive risk of attack for reasons personal to him or because all

   prisoners in his situation face such a risk. Id.

           “A supervisory correctional official is liable for an inmate's sexual assault when the

   supervisory official knew that there was an unacceptable risk of assault but did nothing to protect

   an inmate who was subsequently assaulted.” Green v. Padilla, 484 F. Supp. 3d 1098, 1156

   (D.N.M. 2020). The audit pointed out that the lack of video monitoring at ComCor created a

   substantial and unjustified risk that staff could perpetrate a sexual assault against an inmate. Ms.

   Johnson had almost three years to try to rectify the risks, yet she chose to do nothing. In fact,

   under Ms. Johnson’s supervision the security cameras in place were not even monitored. Ms.

   Johnson was aware of this and she was aware the staff at ComCor knew this. William Mahler

   knew this and exploited this fact to rape the plaintiffs on multiple occasions.

           The 10th Circuit has held that failure to monitor blind spots of video surveillance can

   amount to deliberate indifference to sexual assault. “Sheriff Salazar knew that blind spots

   remained even after the installation of the new cameras and knew that having some cameras in
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   the jail was not enough to deter assaults in unmonitored areas.” Tafoya v. Salazar, 516 F.3d 912,

   919 (10th Cir. 2008). William Mahler would not have had the means or opportunity to rape the

   plaintiffs had not there been well known, significant blind spots in the surveillance cameras at

   ComCor.

          The 2017 Audit and the Colorado Springs Police Department informed Ms. Johnson that

   the environment at ComCor intimidated inmates from bringing forth claims of sexual assault.

   Ms. Johnson was aware of this problem for several years and took no steps to correct the

   problem. Again, the 10th Circuit has found that failure to correct an environment that intimidates

   inmates from reporting sexual assaults can amount to deliberate indifference. “Perhaps most

   troubling, Sheriff Salazar failed to implement an adequate grievance procedure through which

   inmates could make complaints without fear of retribution, and which included serious

   investigation and response.” Tafoya v. Salazar, 516 F.3d 912, 920 (10th Cir. 2008). In the

   Amended Complaint, both Plaintiffs allege that they were eventually violated from ComCor and

   sent back to the department of corrections because they brought forth the allegations against Mr.

   Mahler.

          The Amended Complaint also makes clear that Ms. Johnson failed to train the staff at

   ComCor regarding their responsibilities under PREA. The staff at ComCor was not trained on

   their duty to report other staff members for violations of PREA. The staff at ComCor was not

   trained on the importance of monitoring the security cameras. If the staff at ComCor been

   properly trained, then Mr. Mahler would have been reported for interacting one on one with

   female inmates and making graphic sexual comments. Mr. Mahler would have been reported the

   first time he led Ms. Suarez to an area that was off camera. If these grooming actions been

   reported and acted upon, then the subsequent rapes would have never occurred. Ms. Johnson
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   was aware of her specific duty to train staff regarding PREA but chose not to do so, and Ms.

   Suarez and Lovato were repeatedly raped because of it.

              It is the cumulation of the inactions of Ms. Johnson that led to the Plaintiffs being raped.

   Ms. Johnson was tasked with implementing the PREA and with preventing staff from raping the

   inmates. She was made aware of specific risks of sex assault at ComCor, and yet she failed to

   enforce any policies that would have prevented the rapes. “The knowing failure to enforce

   policies necessary to the safety of inmates may rise to the level of deliberate indifference.”

   Tafoya v. Salazar, 516 F.3d 912, 919 (10th Cir. 2008). The allegations in the complaint are not

   isolated incidents. Mr. Mahler was enabled by ComCor to rape two different women on multiple

   occasions. He did so because of the opportunities provided by Ms. Johnson’s inaction. Further,

   it would be premature for the court to make a decision on Ms. Johnson’s state of mind at this

   stage of the proceeding. Whether or not Ms. Johnson had the culpable state of mind is a question

   of fact.

   BOBBI VIGIL

              Ms. Vigil was the Director of Operations for ComCor. She was in charge of all personel

   at ComCor. Similar to Ms. Johnson, Ms. Vigil was on notice of the 2017 Audit and the Colorado

   Springs Police Department’s assertion that the environment at ComCor was suppressing inmates

   from coming forward with allegations of sexual assault. Ms. Vigil was also directly responsible

   for failing to properly screen Mr. Mahler. Despite failing to conduct any adequate screening of

   Mr. Mahler, Ms. Vigil empowered him with supervisory authority over the Plaintiffs. It was

   through this supervisory authority that Mr. Mahler was able to rape the Plaintiffs. As stated in the

   Amended Complaint, Ms. Vigil was aware the staff at ComCor was not trained regarding PREA

   and their duty to supervise fellow employees. Ms. Vigil was aware of the blind spots regarding
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   video surveillance. Ms. Vigil was aware staff at ComCor knew of the blind spots. Ms. Vigil was

   aware there were times the security cameras were not even being monitored. Ms. Vigil was

   deliberately indifferent to the risks posed by the blind spots and staff’s awareness of them.

           Ms. Vigil could have put security cameras in areas to cover the blind spots. Ms. Vigil

   could have had staff monitor the security cameras. Ms. Vigil could have prohibited staff from

   taking inmates to the blind spots. Ms. Vigil could have trained staff regarding PREA and the

   importance of reporting fellow staff members for violations. Ms. Vigil could have taken steps to

   ensure inmates were not intimidated from reporting sexual abuse. Ms. Vigil could have done

   any of these things, but she chose not to and because of those decisions Ms. Lovato and Ms.

   Suarez were raped by her agent.

   KIRSTEN MARTINEZ

           Ms. Martinez was a security specialist at ComCor. Ms. Martinez was aware of rumors

   Mr. Mahler was raping inmates. As a security specialist, Ms. Martinez was tasked with

   protecting inmates from sexual assault. Ms. Martinez refused to investigate any of the rumors

   involving Mr. Mahler. It is more than reasonable to infer that Ms. Martinez was aware of the

   rumors prior to September 13, 2019. If Ms. Martinez investigated the rumors, the September 13,

   2019 rape of Ms. Suarez would not have happened.

   COMCOR

           It is Plaintiffs’ position that ComCor, is vicariously liable for William Mahler’s sexual

   assaults under an aided-in-agency theory. The Federal District Court of New Mexico held that

   “if an inmate can establish that a prison official with corporal authority over the inmate

   committed a tort against the inmate, and that the official's position of authority aided the official

   in the commission of that tort, then the official's employer is vicariously liable for all injuries that
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   the tort inflicts.” Pena v. Greffet, 110 F. Supp. 3d 1103, 1131 (D.N.M. 2015).      The Court’s

   decision in Pena v. Greffet was based primarily on New Mexico’s adoption aided-in-agency as

   stated in the Restatement (Second) of Agency § 219(2)(d) (1958). Pena v. Greffet, 110 F. Supp.

   3d 1103, 1133 (D.N.M. 2015). Colorado has adopted the principle of aided-in-agency. “A

   principal may be liable for an apparent agent's actions, even if the principal has no knowledge of

   the agent's conduct or the conduct is not within the scope of employment.” Carl's Italian Rest. v.

   Truck Ins. Exch., 183 P.3d 636, 641 (Colo. App. 2007).

          Pursuant to Colorado law, ComCor’s liability may well be based on a factual

   determination of whether Mr. Mahler was an apparent agent or merely a servant. “Principal-

   agent, master-servant, and employer-independent contractor concepts each refer to distinct legal

   relationships which may or may not overlap.” Grease Monkey Int'l, Inc. v. Montoya, 904 P.2d

   468, 472 (Colo. 1995). Therefore, this would be an issue more appropriate for determination at

   the summary judgment stage.

   CONCLUSION

          The Plaintiffs were repeatedly raped at the ComCor facility during the summer of 2019.

   The Plaintiffs were raped by William Mahler an agent of ComCor, who used his position of

   authority over them to sexually assault them. The Plaintiffs were powerless to prevent the sexual

   assaults and have been punished for reporting them. These two women are alleging they were

   raped because the ComCor defendants were deliberately indifferent to the known risks of sexual

   assaults by staff. The Plaintiffs deserve to have their accusation determined upon the facts.

   Therefore, Ms. Lovato and Ms. Suarez ask this Court to deny the motion to Dismiss the

   Amended the Complaint.
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         Dated this June 2, 2022
                                                       Respectfully submitted,
                                                       BARKER & TOLINI, P.C.




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                                      CERTIFICATE OF SERVICE
      I hereby certify that on June 2, 2022 I electronically filed and served the foregoing Response
      to Motion to Dismiss the Amended Complaint with the Clerk of Court using the CM/ECF
      system which will send notifications of such filing to the following email addresses.


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